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                                                       U.S. Department of Justice

                                                       Nathaniel R. Mendell
                                                       Acting United States Attorney
                                                       District of Massachusetts


Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                       1 Courthouse Way
                                                       Suite 9200
                                                       Boston, Massachusetts 02210

                                                       December 9, 2021

Reuben Camper Cahn, Esq.
Keller/Anderle LLP
18300 Von Karman Ave., Suite 930
Irvine, CA 92612

       Re:      United States v. I-Hsin “Joey” Chen
                Criminal No. 19-cr-10080-NMG

Dear Counsel:

         The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, I-Hsin “Joey” Chen (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure (“Rule”) 11(c)(1)(C):

       1.       Change of Plea

         As soon as practicable, Defendant will plead guilty to Count Five of the Fourth Superseding
Indictment: Wire Fraud and Honest Services Wire Fraud, Aiding and Abetting, in violation of Title
18, United States Code, Sections 1343, 1346, and 2, insofar as that count charges a scheme and
artifice to defraud ACT, Inc. of standardized tests and test scores, and of its right to the honest and
faithful services of its test administrators. Defendant admits that Defendant committed the crime
specified in that count and is in fact guilty of it. The U.S. Attorney agrees to dismiss Count One
of the Fourth Superseding Indictment following the imposition of sentence at the sentencing
hearing.

        Defendant’s plea shall, with the U.S. Attorney’s consent, be a conditional plea of guilty,
reserving Defendant’s right to appeal the denial of Defendant’s Motion to Dismiss Count Five of
the Fourth Superseding Indictment, Dkt. 1026, only to the extent that the motion argued, in the
accompanying brief at Dkt. 1022, as follows: first, that test scores cannot, as a matter of law,
constitute property for purposes of the mail or wire fraud statutes, and that, to the extent that
standardized tests might be considered property under the mail or wire fraud statutes, the
indictment did not adequately allege facts establishing a scheme to fraudulently obtain
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standardized tests in this case; and second, that the indictment did not adequately allege facts
establishing that test administrators owed a fiduciary duty to testing companies in this case.
Defendant will have the right to withdraw Defendant’s guilty plea should Defendant prevail on
appeal.

       The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney’s
Office at this time, no further criminal charges will be brought against Defendant in connection
with the conduct set forth in the Fourth Superseding Indictment.

       2.      Penalties

       Defendant faces the following maximum penalties on Count Five of the Fourth
Superseding Indictment: incarceration for 20 years; supervised release for three years; a fine of
$250,000, or twice the gross gain or loss, whichever is greater; a mandatory special assessment of
$100; restitution; and forfeiture to the extent charged in the Fourth Superseding Indictment.

       Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

       3.      Rule 11(c)(1)(C) Plea

       In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

        Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

       4.      Sentencing Guidelines

      The U.S. Attorney will take the position, based on the following calculations, that
Defendant’s total “offense level” under the Guidelines is 11:

               a) Based on the Court’s prior rulings in this case, Defendant’s base offense level
                  is seven, because the offense of conviction is wire fraud and honest services
                  wire fraud (USSG § 2B1.1);




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               b) Defendant’s offense level is increased by six, because the actual and intended
                  loss or gain from the offense was more than $40,000 but not more than $95,000
                  (USSG § 2B1.1(b)(1)(D)); and

               c) Defendant’s offense level is decreased by two, because Defendant has accepted
                  responsibility for Defendant’s crime (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crime to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       5.      Agreed Disposition

       The parties agree on the following sentence:

               a) incarceration for a term of nine weeks;

               b) a fine $75,000;

               c) 12 months of supervised release, with 100 hours of community service imposed
                  as a condition of the supervised release;

               d) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;

               e) restitution in an amount to be determined at sentencing; and

               f) forfeiture as set forth in Paragraph 7.

       Defendant agrees not to seek bail pending appeal, or any continuances or delays in
sentencing or reporting to a facility designated by the Bureau of Prisons.

       6.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant

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has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit except as set forth in
                  Paragraph 1 of this Agreement; and

               b) Defendant will not challenge Defendant’s sentence, including any court orders
                  related to forfeiture, restitution, fines or supervised release, on direct appeal or
                  in any other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of the sentence agreed to by the
parties in Paragraph 5.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction (except as set forth in
Paragraph 1 of this Agreement) and sentence regardless of whether Defendant later changes
Defendant’s mind or finds new information that would have led Defendant not to agree to give up
these rights in the first place.

       Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

       7.      Forfeiture

         Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.




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       8.      Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       9.      Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from his commitments under this Agreement, to pursue any charges that
were, or are to be, dismissed under this Agreement, and to use against Defendant any of
Defendant’s statements, and any information or materials Defendant provided to the government
during investigation or prosecution of Defendant’s case—even if the parties had entered any earlier
written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       10.     Who is Bound by Plea Agreement

        This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       11.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Kristen A. Kearney.

                                                     Sincerely,

                                                     NATHANIEL R. MENDELL
                                                     Acting United States Attorne
                                                                          Attorney

                                             By:
                                                      STEPHEN E. FRANK
                                                      Chief
                                                      Securities, Financial & Cyber Fraud Unit
                                                      SETH B. KOSTO
                                                      Deputy Chief
                                                      Securities, Financial & Cyber Fraud Unit



                                                      KRISTEN A. KEARNEY
                                                      IAN J. STEARNS
                                                      Assistant U.S. Attorneys




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